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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                             ROANOKE DIVISION

 United States of America


       v.                                       Docket No. 7:22-CR-1-TTC


 Jerald Francis Gray
                         Defendant’s Sentencing Memorandum

       Few criminal acts raise as much opprobrium as the possession of child sexual

 abuse images. But Mr. Gray’s conduct and history are unremarkable among the

 class of people convicted for such behavior. On the scale of similar crimes, Mr.

 Gray’s conduct was relatively minor in that he possessed far fewer images than

 most. And Mr. Gray did not distribute or manufacture any such images or content,

 nor did he profit from their creation. Nor does Mr. Gray have a history of

 convictions for such behavior, and apart from an untested abuse allegation and a

 marijuana conviction, he has lived a law-abiding life. Mr. Gray requests that the

 court vary below the guidelines and impose a sentence of twenty-four months, which

 is consistent with a guideline calculation that does not enhance Mr. Gray’s conduct

 multiple times for the same aspects of his crimes. Because the guidelines are

 correctly calculated, Mr. Gray argues these are not objections to the report, but are

 reasons that the court should vary from the guidelines and impose a lower sentence.

       It would be easy for the court to impose a lengthy sentence on Mr. Gray and

 hope that, in so doing, the court will act consistent with justice. But a lengthy

 sentence would do little to accomplish the goals of punishment and would
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 needlessly incarcerate someone who can easily be monitored in society to ensure the

 safety of the community. What is more, a lengthy sentence would appease many

 actors in the criminal legal system and may bring some small measure of comfort to

 the victims, but would not deter others or have any effect on this country’s (and the

 world’s) larger crisis of child sexual abuse material easily available and freely

 traded online.

       The internet is awash in child sexual abuse material. In 2018, technology

 companies reported more than 45 million images traded online, which I likely a

 fraction of the total images being distributed throughout the web. See Michael H.

 Keller and Gabriel J.X. Dance, The Internet is Overrun with Images of Child Sexual

 Abuse. What Went Wrong?, New York Times, Sept. 29, 2019 available at

 https://www.nytimes.com/interactive/2019/09/28/us/child-sex-abuse.html. Since that

 reporting, many technology companies have striven to cut this number. And yet the

 number of reports of such images has nearly doubled since 2018—then just over 18

 million such reports were filed. Last year more than 32 million reports were

 submitted. See WBUR, Child sexual abuse material is on the rise online. Will

 lawmakers and big tech finally act? On Point, NPR, February 16, 2023, transcript

 available at https://www.wbur.org/onpoint/2023/02/16/the-rise-of-child-sex-abuse-

 material-and-what-lawmakers-and-the-tech-industry-can-do-to-stop-it.

       Sentencing Mr. Gray to a significant term of imprisonment will have no

 meaningful effect on the millions of images circulating online. The length of Mr.

 Gray’s term of imprisonment is inconsequential to the market for such images. But
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 this is not to say that a lengthy term of imprisonment has no support in the goals of

 punishment, as doing so will impose a significant punishment for Mr. Gray’s

 actions. But what role should retribution play in punishing an individual who

 viewed the sexual exploits of others? His conduct was reprehensible, but how

 responsible can he be said to be for the known and unknown harm caused by his

 actions? The known harm is felt by the identified victims who are notified that, yet

 again, their abuse has been exploited for the gratification of others. The unknown

 harm is borne by the unidentified victims and felt by the known victims even when

 they are not notified of further criminal charges. In each case, Mr. Gray’s actions

 were a small part of a much larger system, and the harm he directly caused pales in

 comparison to the greater harm inflicted by this growing crisis. Effective

 punishment in such cases is that people be imprisoned for the harm caused by their

 actions, but the amount of imprisonment ought to be commensurate with the harm.

       The most troublesome aspect of Mr. Gray’s past is something that this court

 ought not to consider in fashioning a sentence: that he was accused of molesting a

 child nearly thirty years ago, and that this accusation was corroborated by Mr.

 Gray’s recent confession. Mr. Gray’s confession ought to be viewed in the context in

 which it occurred. He was being interrogated by police and was accused of serious

 crimes. Admitting to dated conduct could be seen as mitigating and strengthening

 his credibility while not appearing to expose him to more criminal liability. And Mr.

 Gray’s confession largely parroted the accusation’s structure but was not
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 sufficiently detailed—which might be a product of the fact that the act allegedly

 occurred nearly three decades ago.

        He only other troublesome aspect of Mr. Gray’s past is his admission to

 viewing this material over the past decade. But it is the rare defendant who is

 caught with his first and only foray into child sexual abuse material. Sadly, most

 are caught well into their conduct, and Mr. Gray is no exception. The silver lining to

 this fact is that Mr. Gray has never received treatment, and the court should

 presume that the treatment offered and required by its Probation Office will

 effectively treat Mr. Gray’s behavior. If the treatment were not effective, the court

 would not require it and probation would not scrupulously ensure that defendants

 receive it.

        Several guideline enhancements inflate Mr. Gray’s recommended sentence

 without meaningfully relying on aggravating factors. For instance, the fact that Mr.

 Gray used a computer increases his recommended sentence by two points, even

 though the vast majority (and almost all) of cases of child sexual abuse material

 involve the use of computers. Mr. Gray also receives two enhancements for the

 inclusion of children under the age of twelve—both a two point enhancement and a

 four-point enhancement for the necessarily-true finding that sexual abuse of a

 prepubescent minor involves the infliction of pain. And Mr. Gray receives a

 significant increase to his guidelines because he possessed lengthy videos of child

 sexual abuse material, even though Mr. Gray only actually possessed fewer than

 one hundred files containing such material. In total, these aggravating factors
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 increase Mr. Gray’s recommended sentence nearly three-fold. Mr. Gray requests

 that the court consider that an appropriate sentence would account for a two-level

 increase for the inclusion of children under the age of twelve and a two-level

 increase for having more than ten but fewer than one hundred and fifty images.

 That adjusted offense level would result in a recommended range of 30 – 37 months

 of imprisonment.

       Nearly twenty percent of defendants charged with possessing images of child

 sexual abuse material receive sentences of less than sixty months of imprisonment.

 The figure below was taken from the Sentencing Commission’s JSIN data after

 including all defendants convicted using the 2G2.2 guideline.
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 And of defendants who have a criminal history category of I and an adjusted offense

 level of thirty, nearly three quarters receive a downward departure or variance.




 The resulting average and median sentence length for similarly situated defendants

 is seventy months. Mr. gray requests a sentence below that because of his

 demonstrated ability to follow the law and the ability of available treatment to

 effectively protect the safety of the community. Because Mr. Gray has not received

 treatment for his sexual behavior, this court should assume that the available

 treatment will work. His otherwise law-abiding life demonstrates that he can be

 safely monitored in the community without requiring a lengthier sentence of

 imprisonment.

       Mr. Gray requests this court order him to pay restitution of $6,000--$3,000 to

 each identified victim in his case. Though this amount cannot account for the harm

 done to each child, it can help to repair some of the harm Mr. Gray caused by

 downloading and viewing material capturing horrific moments in their past.
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       Respectfully submitted,



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